






NO. 07-05-0300-CR


					       07-05-0301-CR

					       07-05-0302-CR

					       07-05-0303-CR


IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 5, 2006


		______________________________



JOSE GEORGE GONZALES, JR., APPELLANT



V.



THE STATE OF TEXAS, APPELLEE


_________________________________



FROM THE 251ST DISTRICT COURT OF POTTER COUNTY;



NOS. 49,233-C, 49,234-C, 49,235-C, 50,082-C;



HONORABLE PATRICK A. PIRTLE, JUDGE


_______________________________




Before REAVIS and CAMPBELL and HANCOCK, JJ.

ORDER


	Appellant, Jose George Gonzales, Jr. appeals his convictions and sentences of
August 5, 2005.   The trial court clerk's record was filed on October 3, 2005 and a
supplemental trial court clerk's record was filed on October 11, 2005.

	The trial court ordered the preparation of the reporter's record on August 22, 2005. 
This Court has granted four extensions to the court reporter.  On April 17, 2006 this Court
sent the court reporter a letter noting that the record had not been filed and requesting the
status of the record by April 27, 2006.  On that date this Court received a fifth request for
extension of time to file the record.   

	Accordingly, we order Debby Murphy, official court reporter for the 251st District
Court of Potter County, to transcribe and file with the Clerk of this Court a reporter's record
as required by the Texas Rules of Appellate Procedure and the trial court's order dated
August 22, 2005 and encompassing cause numbers 49,233-C, 49, 234-C, 49,235-C and
50,082-C.  The record shall include all argument, evidence and exhibits presented to the
court during trial, as well as any pretrial and post-trial hearings conducted in said cause. 
We further order Debby Murphy to file the reporter's record in a manner by which it will be
actually received by the Clerk of this Court on or before 5:00 p.m. on May 15, 2006. 
Absent extraordinary circumstances, no motion for extension of time will be considered.

	Failure to file the reporter's record as directed by this Court's order may result in one
or more of the following:   


  	A hearing requiring Debby Murphy to show cause why she should not be
held in contempt; 


	(2) 	a complaint to the Court Reporter's Certification Board;

	(3) 	appropriate sanctions; or

	(4) 	abatement to the trial court for appropriate action.  



	It is so ordered.   


							Per Curiam



&gt; (4)  In addition, the order signed August 12, 2004, also
included a provision dismissing Rodriguez's action against ICON Benefit Administrators,
Inc. with prejudice.  

	By his sole point of error, Rodriguez contends the trial court erred in granting
summary judgment in favor of ICON Benefit Administrators.  We disagree.  Although Leza's
motion sought a summary judgment as alternative relief, ICON did not file a motion seeking
summary judgment or otherwise. Instead, according to the reporter's record of the hearing
on August 6, 2004, noting that Rodriguez had attempted to join ICON without leave of the
court contrary to Lubbock County local Rule 3.40(B)(2), the trial court ordered that
Rodriguez's action against ICON be dismissed.  The order signed by the court included a
paragraph dismissing the suit against ICON.

	Because a summary judgment was not rendered and Rodriguez does not present
a point of error challenging the dismissal for misjoinder or otherwise, Rodriguez's sole point
of error presents nothing for review and is overruled. 

	Accordingly, the trial court's judgment is affirmed.


						Don H. Reavis

						    Justice
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment.
2. Rodriguez filed claims with both carriers, and both carriers paid for his medical
expenses. 
3. Counsel for Rodriguez acknowledged he received a copy of the motion
approximately one month prior to the hearing, but that it was subsequently misfiled and was
never placed on his calendar.  
4.  By this appeal, Rodriguez does not contend that the trial court erred in confirming
the mediation agreement and dismissal of the case as to Leza.


